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                          UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF OREGON

                                 PORTLAND DIVISION

  GOVERNMENT EMPLOYEES                          Case No. 3:17-cv-00045-JR
  INSURANCE COMPANY, a Maryland
  insurance company; GEICO GENERAL              JOINT STIPULATION REGARDING
  INSURANCE COMPANY, a Maryland                 DEADLINES PENDING
  insurance company; GEICO CASUALTY             SETTLEMENT DISCUSSIONS
  COMPANY, a Maryland insurance
  company; and GEICO INDEMNITY
  COMPANY, a Maryland insurance
  company,
                             Plaintiffs,

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             DISCUSSIONS
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            v.

  LEIF’S AUTO COLLISION CENTERS,
  LLC, an Oregon limited liability company
  dba LEIF’S AUTO COLLISION
  CENTERS, and LEIF HANSEN, an
  individual,
                              Defendants.

       Plaintiffs Government Employees Insurance Company, GEICO General Insurance

Company, GEICO Casualty Company, and GEICO Indemnity Company (“GEICO”) and

Defendant’s Leif’s Auto Collision Centers LLC dba Leif’s Auto Collision Centers and Leif Hansen

(“Defendants”) stipulate and move as follows:

       1.        As the Court is aware, the Parties met in late May regarding a potential settlement

in this matter. The Parties had previously indicated that they would update the Court with a Joint

Notice of Settlement, or a Joint Notice of Proposed Scheduling on the motions that are pending in

this case by May 31, 2023. See Dkt. 187. The Parties are currently still in negotiations regarding

settlement, and need a couple of additional days to determine whether a resolution can be reached.

Thus, the Parties request an extension until June 2, 2023 to provide the update to the Court.


DATED this 31st day of May, 2023.


                                               Respectfully Submitted,



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                                  Leif Hansen, and individual




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           DISCUSSIONS
